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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA             )
                                     )
      v.                             )                  CASE NO. 1:21-cr-00028-7-APM
                                     )
LAURA STEELE                         )
____________________________________ )



                          UNOPPOSED MOTION TO JOIN
                    DEFENDANT CALDWELL’S MOTION TO DISMISS

Laura Steele, through counsel, respectfully requests that the Court allow her to join Defendant

Thomas Caldwell’s motion to dismiss. The motion is not fact-specific to one defendant and would

appear to apply equally to all defendants if granted. Further, it is in the interest of judicial economy

to allow this motion, and government counsel has indicated no objection to the motion to join.


                                                Respectfully Submitted,

                                                /s/ Peter A. Cooper
                                                Peter A. Cooper, (#478-082)
                                                400 Fifth Street, NW.
                                                Suite 350
                                                Washington DC 20001
                                                pcooper@petercooperlaw.com
                                                Counsel for Laura Steele
                         Case 1:21-cr-00028-APM Document 258 Filed 06/29/21 Page 2 of 2


                                                CERTIFICATE OF SERVICE

                        I HEREBY CERTIFY that a copy of the foregoing Unopposed Motion to Join Motion to
                 Dismiss and proposed Order is being filed via the Electronic Court Filing System (ECF), causing
                 a copy to be served upon government counsel of record, this 29th day of June, 2021.

                                                             /s/ Peter A. Cooper
                                                             Peter A. Cooper
PeterCooperLaw




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